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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                               CASE NO. 8:24-cr-68-KKM-TGW

TIMOTHY BURKE

                           UNITED STATES’ SUR-REPLY

        The United States of America hereby files this sur-reply to defendant Timothy

Burke’s Reply Brief in Support of Defendant’s Motion to Suppress (the “Reply”). Doc. 77.

        On July 26, 2024, the United States submitted the United States’ Opposition to

Burke’s Motion to Suppress (the “Response”). Doc. 72. In explaining why it was

irrelevant to a determination of probable cause concerning a violation of 18 U.S.C.

§ 2511(1)(a) whether individuals participating in an intercepted interview were in the

same location, the submitted Response, on page 20, explained that the affidavit

articulated violations of both wire communications and electronic communications (two

of the three disjunctive possibilities). The United States’ Response in this context

included the statement (emphasis added):

        “Under the Wiretap Act, that intercepted audio/video transmission contained
        both wire (human voice) and electronic communications (images and other
        electronic information) and amounted to a violation of § 2511(1)(a).

The United States’ explanation also included a note reference to the definitions of

“wire communication” and “electronic communication” under § 2510(1), (18), and

(12).
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      On August 16, 2024, Burke filed his Reply. Doc. 77. In arguing that the

magistrate judge was not fully informed about the elements of § 2511(1)(a), the

Reply, on pages six and seven, included what was represented to be the above

quotation but exchanged the word “oral” for “wire” (emphasis added):

      [u]nder the Wiretap Act, that intercepted audio/video transmission contained
      both oral (human voice) and electronic communications (images and other
      electronic information) and amounted to a violation of § 2511(1)(a).

The Reply then included a note reference to the definition of “oral communication”

under § 2510(2), as well as argument about “oral communications.” That exchange

of term could lead to unnecessary confusion regarding the United States’ argument.

                                           Respectfully submitted,

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                            CERTIFICATE OF SERVICE

       I hereby certify that on August 30, 2024, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to the following:

              Michael Maddux, Esq.
              Mark Rasch, Esq.



                                         /s/ Jay G. Trezevant
                                         Jay G. Trezevant
                                         Assistant United States Attorney
